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 8                           UNITED STATES DISTRICT COURT

 9                          CENTRAL DISTRICT OF CALIFORNIA

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11   JUAN CHAVEZ,                  )         NO. CV 24-823-FMO(E)
                                   )
12                  Plaintiff,     )
                                   )
13        v.                       )               JUDGMENT
                                   )
14   STATE ACTOR CONDUCT DOES,     )
     ET AL.,                       )
15                                 )
                    Defendants.    )
16   ______________________________)

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18        IT IS ADJUDGED that the action is dismissed without prejudice.

19

20              DATED: June 7, 2024.

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                                                 _______________________________
                                                              /s/
23                                                   FERNANDO M. OLGUIN
                                               UNITED STATES DISTRICT JUDGE
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